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KATHY A. DOCKERY
CHAPTER 13 TRUSTEE
801 S. FIGUEROA ST., SUITE 1850
LOS ANGELES, CA 90017
PHONE: (213) 996-4400
FAX: (213) 996-4426




X CHAPTER 13 TRUSTEE




                                                             2:25-bk-10016-DS

  ARMIDA DIAZ THOMPSON




      7/8/2025


                                                  Signature of CHAPTER 13 TRUSTEE

                                                  KATHY A. DOCKERY, CHAPTER 13 TRUSTEE
                                                  Printed Name of CHAPTER 13 TRUSTEE
       Case 2:25-bk-10016-DS              Doc 37 Filed 07/08/25 Entered 07/08/25 16:08:36                       Desc
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                                                                            2:25-bk-10016-DS

 ARMIDA DIAZ THOMPSON




 The Trustee hereby moves this court to modify the confirmed Chapter 13 Plan or suspend plan payments, as set
 forth in detail below.



  X


  X




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X                                            TBD               TBD
                     TBD                     TBD




The Trustee files this Motion to Modify the Plan to provide notice to the Debtor and Creditor, CHANGE
LENDING LLC, that the Trustee will contact the parties to discuss the plan modifications that are necessary
to cure the post-confirmation mortgage payment arrearage and, if feasible, to provide for the Trustee to be
delegated the task of paying all future ongoing mortgage payments. The detailed terms of the modification
will be presented to the court by subsequent stipulation.




                                                                            60




         X




    7/8/2025

                                                                      Signature of CHAPTER 13 TRUSTEE

                                                                      KATHY A. DOCKERY, CHAPTER 13 TRUSTEE
                                                                      Printed Name of CHAPTER 13 TRUSTEE
